Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 1 of 28 PageID 4




                  Exhibit A
              Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 2 of 28 PageID 5
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                       IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
                               IN AND FOR ORANGE COUNTY, FLORIDA

                                                       CASE NO.

        ALBERTO SILVA and MICHAEL ROBERSON,
        individually and on behalf of all others similarly situated,           CLASS ACTION

                Plaintiffs,                                              JURY TRIAL DEMANDED

        v.

        FLORIDA TECHNICAL COLLEGE, INC.,
        NATIONAL COLLEGE OF BUSINESS AND
        TECHNOLOGY COMPANY, INC. d/b/a NUC UNIVERSITY,
        JAMES M. BURKETT, and VIVIAN CORONELL,

              Defendants.
        _________________________________________________/

                                           CLASS ACTION COMPLAINT

                Plaintiffs Alberto Silva (“Silva”) and Michael Roberson (“Roberson”) bring this class action

        against Defendants Florida Technical College, Inc. (“FTC”), National College of Business and

        Technology Company, Inc. d/b/a NUC University (“NUC University”), James M. Burkett

        (“Burkett”), and Vivian Coronell (“Coronell”), and allege as follows upon personal knowledge as to

        Plaintiffs’ and Plaintiffs’ own acts and experiences, and, as to all other matters, upon information and

        belief, including investigation conducted by Plaintiffs’ attorneys.

                                             NATURE OF THE ACTION

                1.      This is a class action under the Telephone Consumer Protection Act, 47 U.S.C. §§

        227, et seq. (“TCPA”), and the Florida Telephone Solicitation Act (“FTSA”), Fla. Stat. § 501.059.

                2.      To market its services, Defendants engage in unsolicited text messaging, including

        to individuals who have demanded for Defendants to stop calling them, and to those who have not

        provided Defendants with their prior express written consent as required under the FTSA.



                                                             1
      Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 3 of 28 PageID 6




       3.      Defendants’ telephonic sales calls have caused Plaintiffs and the Class members

harm, including violations of their statutory rights, statutory damages, annoyance, nuisance, and

invasion of their privacy.

       4.      Through this action, Plaintiffs seek an injunction and statutory damages on behalf

of themselves and the Class members, as defined below, and any other available legal or equitable

remedies resulting from the unlawful actions of Defendants.

                                             PARTIES

       5.      Plaintiff Roberson is, and at all times relevant hereto was, a citizen and resident of

Orange County, Florida. Plaintiff Roberson is, and at all times relevant hereto was, an individual

and a “called party” as defined by Fla. Stat. § 501.059(1)(a) in that he was the regular user of

cellular telephone number that received Defendants’ telephonic sales calls.

       6.      Plaintiff Silva is, and at all times relevant hereto was, a citizen and resident of

Orange County, Florida. Plaintiff Silva is, and at all times relevant hereto was, an individual and

a “called party” as defined by Fla. Stat. § 501.059(1)(a) in that he was the regular user of cellular

telephone number that received Defendant’s telephonic sales calls.

       7.      Defendant FTC is, and at all times relevant hereto was, a Florida corporation and a

“telephone solicitor” as defined by Fla. Stat. § 501.059(f).

       8.      Defendant NUC University is, and at all times relevant hereto was, a Florida

corporation and a “telephone solicitor” as defined by Fla. Stat. § 501.059(f).

       9.      Defendant Burkett is, and at all times relevant hereto was, a citizen and resident of

Orange County, Florida.

       10.     Defendant Coronell is, and at all times relevant hereto was, a citizen and resident

of Orange County, Florida.



                                                 2
      Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 4 of 28 PageID 7




                                 JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction pursuant to Florida Rule of Civil

Procedure 1.220 and Fla. Stat. § 26.012(2). The matter in controversy exceeds the sum or value of

$30,000 exclusive of interest, costs, and attorney’s fees.

       12.      Defendants are subject to personal jurisdiction in Florida because they are

incorporated and headquartered in Florida, and reside in Florida.

       13.     Venue for this action is proper in this Court pursuant to Fla. Stat. § 47.051 because

the cause of action accrued in this County.

                           FACTS SPECIFIC TO PLAINTIFF SILVA

       14.     As reflected by the following screenshots, Defendants continue to text message

Plaintiff Silva with text message advertisements even after repeated requests by Plaintiff Silva for

the messages to “Stop”:




                                                 3
Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 5 of 28 PageID 8




                                 4
Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 6 of 28 PageID 9




                                 5
Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 7 of 28 PageID 10




                                  6
Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 8 of 28 PageID 11




                                  7
Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 9 of 28 PageID 12




                                  8
Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 10 of 28 PageID 13




                                  9
Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 11 of 28 PageID 14




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    Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 12 of 28 PageID 15




         15.   At the time Plaintiff Silva received these messages, he was the subscriber and sole

user of the number that received Defendants’ messages.

         16.   Plaintiff Silva primarily uses his cellular telephone as a personal and residential

phone.

         17.   Defendants’ text messages constitute telemarketing, advertising, or solicitations

because they promote Defendant’s business, goods and services.

         18.   As demonstrated above, Plaintiff Silva requested multiple times for Defendants to

stop contacting his cellular telephone.

         19.   Notwithstanding, Plaintiff Silva continued to receive unsolicited text messages

from Defendants.

         20.   Plaintiff Silva never provided Defendants with express written consent authorizing

Defendants to transmit telephonic sales calls to Plaintiff’s cellular telephone number utilizing an

automated system for the selection or dialing of telephone numbers.


                                                11
    Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 13 of 28 PageID 16




       21.     Plaintiff Silva revoked any consent he may have provided by repeatedly asking

Defendants to “Stop” text messaging him.

       22.     Defendants’ unsolicited text message caused Plaintiff Silva harm, including

invasion of privacy, aggravation, annoyance, and wasted time. Further, Defendant violated

Plaintiff Silva’s substantive rights under the TCPA and FTSA to remain free of unsolicited calls.

                       FACTS SPECIFIC TO PLAINTIFF ROBERSON

       23.     As reflected by the following screenshots, Defendants continue to bombard

Plaintiff Roberson’s cellular telephone with telephonic sales calls:




                                                12
Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 14 of 28 PageID 17




                                  13
Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 15 of 28 PageID 18




                                  14
    Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 16 of 28 PageID 19




         24.   Defendants’ text messages constitute telemarketing, advertising, or solicitations

because they promote Defendants’ business, goods and services.

         25.   At the time Plaintiff Roberson received these messages, Plaintiff Roberson was the

subscriber and sole user of the number that received Defendants’ messages.

         26.   Plaintiff Roberson primarily uses his cellular telephone as a personal and residential

phone.




                                                15
     Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 17 of 28 PageID 20




         27.    Plaintiff Roberson never provided Defendants with express written consent

authorizing Defendants to transmit telephonic sales calls to Plaintiff Roberson’s cellular telephone

number utilizing an automated system for the selection or dialing of telephone numbers.

         28.    Defendants’ unsolicited text message caused Plaintiff Roberson harm, including

invasion of privacy, aggravation, annoyance, and wasted time. Further, Defendants violated

Plaintiff Roberson’s substantive rights under the TCPA and FTSA to remain free of unsolicited

calls.

          FACTS APPLICALE TO ALL PLAINTIFFS AND THE CLASS MEMBERS

         29.    The text message solicitations sent to Plaintiffs and the Class members were sent

for the benefit of and to generate revenue for Defendants FTC and NUC University

         30.    The text message solicitations sent to Plaintiffs and the Class members were

personally reviewed and authorized by Defendant Burkett in the course and scope of his

employment with Defendants FTC and NUC University.

         31.    The text message solicitations sent to Plaintiffs and the Class members were

personally transmitted by Defendant Coronell in the course and scope of her employment with

Defendants FTC and NUC University.

         32.    Defendants have no policies or procedures in place to comply with the TCPA and

FTSA.

         33.    In fact, Angelica Torres, head of compliance for Defendants FTC and NUC

University, has never heard of the TCPA.

         34.    Defendants do not maintain an internal do-not-call list.

         35.    Defendants do not have a written policy, available upon demand, for maintaining a

do-not-call list.



                                                 16
       Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 18 of 28 PageID 21




         36.     Defendant Burkett and Defendant Coronell have never been informed and on the

existence and use of any do-not-call list.

         37.     Defendants do not record consumer opt-out requests and do not honor consumer

do-not-call requests. Consequently, Defendants continue to send text message solicitations to

consumers after “stop” requests from consumers.

         38.     During the relevant time frame, Defendants caused over 1 million text message

solicitations to be sent to consumers in Florida.

         39.     Defendants failed to secure express written consent from Plaintiffs and the Class

members.

         40.     To transmit the telephonic sales text message calls to Plaintiffs and the Class

members, Defendants used a messaging platform provided by Trumpia d/b/a DoCircle (the

“Platform”), which permitted Defendant to transmit thousands of text messages automatically and

without any human involvement utilizing the Platform’s “Mass Texting” feature, a “messaging

technique that allows you to send large quantities of text messages s (also known as SMS) to

multiple subscribers instantly.”1

         41.     The Platform has the capacity to select and dial numbers automatically from a list

of numbers.

         42.     The Platform has the capacity to schedule the time and date for future transmission

of text messages.

         43.     The Platform also has an auto-reply function that results in the automatic

transmission of text messages.




1
    www.trumpia.com/product/core-features/mass-texting.
                                                    17
    Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 19 of 28 PageID 22




       44.     Defendant was not required to and did not need to utilize the Platform to send

messages to Plaintiff and the Class members. Instead, Defendants opted to use the Platform to

maximize the reach of its text message advertisements at a nominal cost to Defendants.

       45.     Defendants would be able to conduct their business operations without sending

automated text messages to consumers.

       46.     Defendants would be able to send automated text messages to consumers, and in

compliance with the FTSA, by securing the proper consent from consumers prior to sending text

messages.

       47.     Defendants would be able to send text messages to consumers without consent by

utilizing a non-automated text messaging system.

       48.     Accordingly, it is not impossible for Defendants to comply with the FTSA in the

context of transmitting text messages.

       49.     The burden and cost to Defendants of securing consent from consumers that

complies with the FTSA is nominal.

       50.     Compliance with the FTSA will not result in Defendants having to cease their

business operations.

       51.     Compliance with the FTSA will not result in Defendants having the alter their

prices of any goods or services it provides in the marketplace.

       52.     Compliance with the FTSA will not force Defendants to seek regulatory approval

from the State of Florida before undertaking any type of commercial transaction.

       53.     Because a Defendants’ FTSA violations occurred in Florida, requiring Defendants’

compliance with the FTSA will not have the practical effect of regulating commerce occurring

wholly outside of Florida.



                                                18
    Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 20 of 28 PageID 23




                                    CLASS ALLEGATIONS

       PROPOSED CLASSES

       54.     Plaintiffs bring this lawsuit as a class action on behalf of themselves individually

and on behalf of all other similarly situated persons as a class action pursuant to Florida Rule of

Civil Procedure 1.220(b)(2) and (b)(3). The Classes that Plaintiffs seek to certify and represent are

as follows:

               INTERNAL DNC CLASS: All persons within the United States
               who, within the four years prior to the filing of this Complaint
               through the date of class certification, (1) received two or more
               text messages within any 12-month period, (2) encouraging the
               purchase or rental of, or investment in, Defendant’s property,
               goods, or services, (3) to said person’s residential telephone
               number.

               FTSA CLASS: All persons in Florida and/or Florida residents who,
               (1) were sent a telephonic sales call regarding Defendant’s goods
               and/or services, (2) using the same equipment or type of equipment
               utilized to call Plaintiff, (3) since July 1, 2021 through the date of
               class certification.

       55.     Defendants and their employees or agents are excluded from the Classes.

       NUMEROSITY

       56.     Defendant have placed over 1 million telephonic sales calls to consumers

throughout Florida. The members of the Classes, therefore, are so numerous that joinder of all

members is impracticable.

       57.     Identification of the Class members is a matter capable of ministerial determination

from Defendants’ call records.




                                                 19
    Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 21 of 28 PageID 24




       COMMON QUESTIONS OF LAW AND FACT

       58.     There are numerous questions of law and fact common to the Classes which

predominate over any questions affecting only individual members of the Classes. Among the

questions of law and fact common to the Classes are:

               a) Whether Defendants’ conduct was knowing and willful;

               b) Whether Defendant initiated telephonic sales calls to Plaintiffs and the Class
                   members;

               c) Whether Defendants can meet its burden of showing that it had prior express
                   written consent to make such calls;

               d) Whether Defendants maintain an internal do-not-call list and instruct their
                   employees on how to use the list;

               e) Whether Defendants honor consumers’ opt-out requests;

               f) Whether Defendants are liable for damages, and the amount of such damages;
                   and

               g) Whether Defendants should be enjoined from such conduct in the future.
       59.     The common questions in this case are capable of having common answers, and

Plaintiff and the Class members will have identical claims capable of being efficiently adjudicated

and administered in this case.

       TYPICALITY

       60.     Plaintiffs’ claims are typical of the claims of the Class members, as they are all

based on the same factual and legal theories.




                                                20
    Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 22 of 28 PageID 25




          PROTECTING THE INTERESTS OF THE CLASS MEMBERS

          61.   Plaintiffs are representatives who will fully and adequately assert and protect the

interests of the Classes and have retained competent counsel. Accordingly, Plaintiffs are adequate

representatives and will fairly and adequately protect the interests of the Class.

          SUPERIORITY

          62.   A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit because individual litigation of the claims of all members of the Classes

is economically unfeasible and procedurally impracticable. While the aggregate damages sustained

by the Classes are in the millions of dollars, the individual damages incurred by each member of

the Classes resulting from Defendants’ wrongful conduct are too small to warrant the expense of

individual lawsuits. The likelihood of individual Class members prosecuting their own separate

claims is remote, and, even if every member of the Classes could afford individual litigation, the

court system would be unduly burdened by individual litigation of such cases.

          63.   The prosecution of separate actions by members of the Classes would create a risk

of establishing inconsistent rulings and/or incompatible standards of conduct for Defendants. For

example, one court might enjoin Defendants from performing the challenged acts, whereas another

may not. Additionally, individual actions may be dispositive of the interests of the Classes,

although certain class members are not parties to such actions.

                                            COUNT I
                     Violations of 47 U.S.C. § 227 and 47 C.F.R. § 64.1200
                   (On Behalf of Plaintiff Silva and the Internal DNC Class)

          64.   Plaintiff Silva re-alleges and incorporates paragraphs 1-63 as if fully set forth

herein.




                                                 21
    Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 23 of 28 PageID 26




       65.     In pertinent part, 47 C.F.R. § 64.1200(d) provides:

               No person or entity shall initiate any call for telemarketing purposes
               to a residential telephone subscriber unless such person or entity has
               instituted procedures for maintaining a list of persons who request
               not to receive telemarketing calls made by or on behalf of that
               person or entity. The procedures instituted must meet the following
               minimum standards:

               (1) Written policy. Persons or entities making calls for telemarketing
               purposes must have a written policy, available upon demand, for
               maintaining a do-not-call list.

               (2) Training of personnel engaged in telemarketing. Personnel
               engaged in any aspect of telemarketing must be informed and
               trained in the existence and use of the do-not-call list.

               (3) Recording, disclosure of do-not-call requests. If a person or entity
               making a call for telemarketing purposes (or on whose behalf such a call
               is made) receives a request from a residential telephone subscriber not
               to receive calls from that person or entity, the person or entity must
               record the request and place the subscriber's name, if provided, and
               telephone number on the do-not-call list at the time the request is made.
               Persons or entities making calls for telemarketing purposes (or on
               whose behalf such calls are made) must honor a residential subscriber's
               do-not-call request within a reasonable time from the date such request
               is made. This period may not exceed thirty days from the date of such
               request. If such requests are recorded or maintained by a party other than
               the person or entity on whose behalf the telemarketing call is made, the
               person or entity on whose behalf the telemarketing call is made will be
               liable for any failures to honor the do-not-call request. A person or entity
               making a call for telemarketing purposes must obtain a consumer's prior
               express permission to share or forward the consumer's request not to be
               called to a party other than the person or entity on whose behalf a
               telemarketing call is made or an affiliated entity.

       66.     Pursuant to 47 C.F.R § 64.1200(e), the rules set forth in 47 C.F.R. § 64.1200(d) are

applicable to any person or entity making telephone solicitations or telemarketing calls to wireless

telephone numbers.

       67.     Plaintiff Silva and the Internal DNC Class members made requests to Defendants

not to receive future text message solicitations from Defendants.



                                                   22
     Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 24 of 28 PageID 27




        68.     Defendants failed to honor Plaintiff Silva’s and the Internal DNC Class members’

opt-out requests.

        69.     As outlined in detail above, Defendants have violated the requirements of section

64.1200(d) by failing to (1) maintain the required written policies; (2) provide any training to their

personnel engaged in telemarketing; and (3) maintain an internal do-not-call list and honor

consumer opt-out requests.

        70.     Pursuant to section 227(c)(5) of the TCPA, Plaintiff Silva and the Internal DNC

Class members are entitled to an award of $500.00 in statutory damages, for each text message

sent by Defendants.

        71.     Plaintiff Silva and the Internal DNC Class members also seek injunctive relief

prohibiting Defendants’ illegal conduct in the future, pursuant to section 227(c)(5).

        72.     Plaintiff Silva requests for this Court to enter an Order granting the relief outlined

in the Prayer for Relief below.

                                             COUNT II
                               VIOLATION OF FLA. STAT. § 501.059
                             (On Behalf of Plaintiffs and the FTSA Class)

        73.     Plaintiff Silva and Plaintiff Roberson re-allege and incorporate paragraphs 1-63 as

if fully set forth herein.

        74.     It is a violation of the FTSA to “make or knowingly allow a telephonic sales call to

be made if such call involves an automated system for the selection or dialing of telephone numbers

or the playing of a recorded message when a connection is completed to a number called without

the prior express written consent of the called party.” Fla. Stat. § 501.059(8)(a).

        75.     A “telephonic sales call” is defined as a “telephone call, text message, or voicemail

transmission to a consumer for the purpose of soliciting a sale of any consumer goods or services,



                                                 23
     Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 25 of 28 PageID 28




soliciting an extension of credit for consumer goods or services, or obtaining information that will

or may be used for the direct solicitation of a sale of consumer goods or services or an extension

of credit for such purposes.” Fla. Stat. § 501.059(1)(i).

        76.     “Prior express written consent” means an agreement in writing that:

                1. Bears the signature of the called party;

                2. Clearly authorizes the person making or allowing the placement of a telephonic
                   sales call by telephone call, text message, or voicemail transmission to deliver
                   or cause to be delivered to the called party a telephonic sales call using an
                   automated system for the selection or dialing of telephone numbers, the playing
                   of a recorded message when a connection is completed to a number called, or
                   the transmission of a prerecorded voicemail;

                3. Includes the telephone number to which the signatory authorizes a telephonic
                   sales call to be delivered; and

                4. Includes a clear and conspicuous disclosure informing the called party that:

                        a. By executing the agreement, the called party authorizes the person
                           making or allowing the placement of a telephonic sales call to deliver or
                           cause to be delivered a telephonic sales call to the called party using an
                           automated system for the selection or dialing of telephone numbers or
                           the playing of a recorded message when a connection is completed to a
                           number called; and

                        b. He or she is not required to directly or indirectly sign the written
                           agreement or to agree to enter into such an agreement as a condition of
                           purchasing any property, goods, or services.

Fla. Stat. § 501.059(1)(g).

        77.     Defendants failed to secure prior express written consent from Plaintiffs and the

FTSA Class members.

        78.     In violation of the FTSA, Defendants made and/or knowingly allowed telephonic

sales calls to be made to Plaintiffs and the FTSA Class members without Plaintiffs’ and the FTSA

Class members’ prior express written consent.




                                                 24
    Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 26 of 28 PageID 29




          79.   Defendants made and/or knowingly allowed the telephonic sales calls to Plaintiffs

and the FTSA Class members to be made utilizing an automated system for the selection or dialing

of telephone numbers.

          80.   As a result of Defendants’ conduct, and pursuant to § 501.059(10)(a) of the FTSA,

Plaintiffs and the FTSA Class members were harmed and are each entitled to a minimum of

$500.00 in damages for each violation.

          81.   Plaintiff Silva and Plaintiff Roberson request for this Court to enter an Order

granting the relief outlined in the Prayer for Relief below.

                                            COUNT III
           Injunctive Relief Pursuant to 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(d)
                     (On Behalf of Plaintiff Silva and the Internal DNC Class)

          82.   Plaintiff Silva re-alleges and incorporates paragraphs 1-63 as if fully set forth

herein.

          83.   Pursuant to section 227(c)(5)(A), Plaintiff Silva seeks injunctive relief prohibiting

Defendants’ unlawful conduct in the future to protect the general public from Defendants’

unsolicited calls and practices.

          84.   Defendants’ ongoing and continuing violations have caused, and in the absence of

an injunction will continue to cause, harm to Plaintiffs and the Internal DNC Class members.

          85.   Plaintiff Silva and the Internal DNC Class members suffer irreparable harm if

Defendants are permitted to continue their practice of violating 47 C.F.R. § 64.1200(d).

          86.   The injuries that the Plaintiff Silva and the Internal DNC Class members will suffer

if Defendants are not prohibited from continuing to engage in the unlawful practices described

herein far outweigh the harm that Defendants will suffer if it is enjoined from continuing this

conduct.



                                                 25
     Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 27 of 28 PageID 30




        87.      The public interest will be served by an injunction prohibiting Defendants from

continuing to engage in the unlawful practices described herein.

        88.      Accordingly, Plaintiff Silva and the Internal DNC Class members seek an

injunction requiring Defendants to honor consumer opt-out requests related to its text messaging

program, as well requiring Defendant to implement an internal Do-Not-Call, train its personnel on

use of the list, and abide by the list.

        89.      Plaintiff Silva requests for this Court to enter an Order granting the relief outlined

in the Prayer for Relief below.

                                          PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Silva and Plaintiff Roberson, individually and on behalf of the

Classes, pray for the following relief:

              a) An order declaring that Defendants’ actions, as set out above, violate the TCPA and

                 FTSA;

              b) An order certifying this case as a class action on behalf of the Classes as defined

                 above, and appointing Plaintiffs as the representative of the Classes and Plaintiffs’

                 counsel as Class Counsel;

              c) An injunction prohibiting Defendants from initiating calls to telephone numbers

                 that have opted out of Defendants’ text messages, mandating Defendants to honor

                 opt-out requests, and maintain and abide by an internal Do Not Call list.

              d) Statutory damages under the TCPA and FTSA on behalf of Plaintiffs and the

                 members of the Classes for each text message sent in violation of the TCPA and

                 FTSA.

              e) Such further and other relief as the Court deems necessary.



                                                  26
     Case 6:22-cv-00860 Document 1-1 Filed 05/06/22 Page 28 of 28 PageID 31




                                           JURY DEMAND

        Plaintiffs, individually and on behalf of the Classes, hereby demand a trial by jury.

                             DOCUMENT PRESERVATION DEMAND

        Plaintiffs demand that Defendants take affirmative steps to preserve all records, lists, electronic

databases or other itemization of telephone numbers associated with the communications or transmittal

of the calls as alleged herein.

Dated: April 4, 2022


                                                         Respectfully submitted,

                                                         HIRALDO P.A.

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                                                    27
